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     8   Communications, LLC
     9                       UNITED STATES DISTRICT COURT
    10                     CENTRAL DISTRICT OF CALIFORNIA
    11
         ENTROPIC COMMUNICATIONS,                 Case No. 2:23-cv-1043-JWH-KES
    12   LLC,                                     (Lead Case)
    13                     Plaintiff,             Case No. 2:23-cv-1047-JWH-KES
                                                  (Related Case)
    14         v.                                 Case No. 2:23-cv-1048-JWH-KES
                                                  (Related Case)
    15   DISH NETWORK CORPORATION,                Case No. 2:23-cv-5253-JWH-KES
         et al.,                                  (Related Case)
    16
                           Defendants.            ENTROPIC COMMUNICATIONS,
    17                                            LLC’S APPLICATION TO STRIKE
                                                  REPLY IN SUPPORT OF MOTION
    18                                            TO DISMISS DISH’S
                                                  COUNTERCLAIMS [413];
    19                                            [PROPOSED] ORDER
    20   ENTROPIC COMMUNICATIONS,
         LLC,
    21
                           Plaintiff,
    22
               v.
    23
         COX COMMUNICATIONS, INC., et
    24   al.,
    25                     Defendants.
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                      APPLICATION TO STRIKE DOCKET ENTRY 413
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     1
         ENTROPIC COMMUNICATIONS,
     2   LLC,
     3                      Plaintiff,
     4        v.
     5   COMCAST, et al.,
     6                      Defendants.
     7

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     9
         ENTROPIC COMMUNICATIONS,
    10   LLC,
    11                      Plaintiff,
    12        v.
    13   DIRECTV, LLC, et al.,
    14                      Defendants.
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                     APPLICATION TO STRIKE DOCKET ENTRY 413
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     1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
     2   RECORD:
     3         Plaintiff Entropic Communications, LLC (“Entropic” or “Plaintiff”) hereby
     4   applies for an order striking, or in the alternative, retroactively and permanently
     5   sealing, Entropic’s Reply in Support of Motion to Dismiss DISH’s Counterclaims
     6   (DE 413). This document contains attorney work product comments that should not
     7   be accessible to the public.
     8          On March 15, 2024, Plaintiff Entropic Communications, LLC (“Entropic”)
     9   filed Entropic’s Reply at Docket Entry 413. After filing its Reply, it came to
    10   Entropic’s attention that the Reply on file contained attorney work product.
    11   Specifically, the document contained comments in the margins that were
    12   inadvertently left in the document. Entropic then immediately informed counsel for
    13   all Parties to this action that Docket Entry 413 contained attorney work product and
    14   that a corrected document would be filed shortly, and Entropic asked all Parties to
    15   delete this document from their files. Entropic then promptly filed a Notice of Errata
    16   with the Court to inform the Court of the error and included a corrected version of
    17   Docket Entry 413 as Exhibit A.
    18         Entropic now seeks to strike Docket Entry 413, which contains attorney work
    19   product that the public does not have an interest in accessing. Entropic’s request is
    20   narrowly tailored to only prevent the public from viewing work product information.
    21   Specifically, a corrected version of Docket Entry 413 is filed herewith. This corrected
    22   document is identical to the document filed at Docket Entry 413, but with the work
    23   product comments removed. Striking Docket Entry 413 is therefore proper. See GS
    24   Holistic, LLC v. TM Smoke Shop, Inc., 2023 WL 3741621, at *1 (C.D. Cal. May 30,
    25   2023) (granting request to strike mistakenly filed documents from docket).
    26         In the alternative, if striking Docket Entry 413 is not possible, Entropic
    27   requests that the Court seal Docket Entry 413. Compelling reasons exist to seal
    28   Docket Entry 413. See Capitol Specialty Ins. Corp. v. GEICO Gen. Ins. Co., 2021
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                       APPLICATION TO STRIKE DOCKET ENTRY 413
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     1   WL 7708484, at *3 (C.D. Cal. Apr. 14, 2021) (quoting Lambright v. Ryan, 698 F.3d
     2   808, 820 (9th Cir. 2012)) (granting application to seal documents that contain
     3   attorney work product because this material is “has traditionally been kept secret for
     4   important policy reasons”).
     5         Accordingly, Entropic respectfully requests that the Court strike Docket Entry
     6   413. Alternatively, Entropic requests that the Court retroactively and permanently
     7   seal Docket Entry 413. Concurrent with this filing, Entropic has filed a corrected
     8   version of Docket Entry 413, which removes the work product comments from the
     9   document.
    10

    11   Dated: March 18, 2024                   K&L GATES LLP
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                      APPLICATION TO STRIKE DOCKET ENTRY 413
